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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                    CIVIL ACTION NO. 12-859

VERSUS                                                   SECTION I, DIVISION 1

MARLIN GUSMAN, ET AL.                                    JUDGE LANCE M. AFRICK
                                                         MAGISTRATE JUDGE NORTH

                                     STATUS REPORT

       The City of New Orleans (the “City), hereby submits a Status Report on the progress of

the Temporary Detention Center (“TDC”) renovation and the construction of Phase III of the

Orleans Justice Center (“OJC”) facility, in response to the Court’s Order of March 18, 2019,

(R.Doc. 1227).

       Blanchard Mechanical Contractors remains on track to complete the TDC renovations by

April 2020, eight months from the Notice to Proceed.

       We are currently in the Design Development (“DD”) Phase of Phase III and the estimated

projected completion date remains June 2022.

                                           Respectfully submitted,




                                           ____________________________________
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